     Case: 1:12-cv-08777 Document #: 236 Filed: 05/13/16 Page 1 of 2 PageID #:2711




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

Chicago Police Officers SHANNON                          )
SPALDING and DANIEL ECHEVERRIA,                          )
                                                         )
         Plaintiffs,                                     )
                                                         )
v.                                                       )          Case No. 12-cv-8777
                                                         )
CITY OF CHICAGO, Chicago Police Chief                    )          Judge Gary Feinerman
JUAN RIVERA, Chicago Police Chief                        )
JAMES O’GRADY, Chicago Police Chief                      )          Magistrate Judge Sheila M. Finnegan
NICHOLAS ROTI, Chicago Police Lt.                        )
Sergeant MAURICE BARNES, Chicago Police                  )
Lt. ROBERT CESARIO, Chicago Police                       )
Commander JOSEPH SALEMME, Chicago                        )
Police Sergeant THOMAS MILLS,                            )
                                                         )
        Defendants.                                      )



            PLAINTIFFS’ MOTION FOR A ONE-DAY EXTENSION TO FILE THEIR
                      PROPOSED FINAL PRETRIAL ORDER

        NOW COME THE PLAINTIFFS, by their attorneys, and hereby move this Court for a

one-day extension in which to file their proposed Final Pretrial Order. In support of this motion,

Plaintiffs state as follows:

        1. On Monday May 2, 2016, before noon, plaintiffs’ counsel sent to the defense counsel

            a comprehensive draft of a proposed Final Pre-trial Order, complete with propose

            stipulations of fact, witness list, exhibit list, jury instructions and voir dire.

        2. On Thursday, May 12, 2016 at 4:50 pm, defense counsel sent plaintiffs’ counsel an

            edited version of plaintiffs’ proposed stipulations of fact, description of the case and a

            response to the plaintiffs’ exhibit list. That’s all.
Case: 1:12-cv-08777 Document #: 236 Filed: 05/13/16 Page 2 of 2 PageID #:2712




   3. As of Friday, May 13, 2016 at 10:18 AM, the day that the Final Pretrial is due to be

      filed, plaintiffs’ counsel have not received any other portion of the defendants’

      proposed Final Pretrial Order.


   4. It is manifestly unreasonable to expect counsel for plaintiffs to review and respond to

      the defendants’ proposed exhibits, witness list, jury instructions, voir dire and other

      required items in less than a day.


      WHEREFORE, plaintiffs respectfully request that plaintiffs be granted until the end

   of the day on Monday, May 16, 2016 in which to respond to the defendants’ draft and file

   with the Court, the parties proposed Final Pre-trial Order.

   Respectfully submitted,

   /s Jeffrey L. Taren
   One of the Attorneys for the Plaintiffs

   Jeffrey L. Taren
   Miriam N. Geraghty
   Kinoy, Taren & Geraghty
   224 S. Michican Ave. Suite 490
   Chicago, IL 60604
   (312) 663-5210

   Christopher Smith
   Christopher Smith Trial Group
   1 N. LaSalle St. Suite 2000
   Chicago, IL 60601
